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 1   JAMES R. GREINER, ESQ.
     CALIFORNIA STATE BAR NUMBER 123357
 2   LAW OFFICES OF JAMES R. GREINER
     555 UNIVERSITY AVENUE, SUITE 290
 3   SACRAMENTO, CALIFORNIA 95825
     TELEPHONE: (916) 649-2006
 4   FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     RENE WRIGHT
 6
 7                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8                         EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                   )        CR-S-08-212-LKK
10                                               )
            PLAINTIFF,                           )        STIPULATION AND
11                                               )        ORDER TO CONTINUE JUDGMENT
            v.                                   )        AND SENTENCING TO
12                                               )        TUESDAY NOVEMBER 15, 2011
     RENE WRIGHT, et al.,                        )
13                                               )
                                                 )
14          DEFENDANTS.                          )
                                                 )
15   ______________________________              )
16
            Plaintiff United States of America, by its counsel, Assistant United States Attorney, Mr.
17
     Richard Bender and defendant Ms. Rene Wright, by her attorney Mr. James R. Greiner, hereby
18
     stipulate and agree that the judgement and sentencing set for Tuesday, September 27, 2011, at
19
     9:15 a.m. before the Honorable Senior United States District Court Judge, Lawrence K. Karlton,
20
     may be continued to Tuesday, November 15, 2011, at 9:15 a.m..
21
            The Court’s courtroom deputy, Ms. Ana Rivas, has been contacted to ensure the Court’s
22
     calendar was available for that date and the Court is available on Tuesday, November 15, 2011.
23
            The defense is requesting this continuance, without objection from the government or
24
     probation, to allow the defendant to complete the terms of her plea agreement.
25
            The parties agree to the following Pre-Sentence Report disclosure dates:
26
27
28                                                    1
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 1          The Proposed Pre-Sentence Report shall be disclosed
            to counsel no later than:                                             October 11, 2011
 2
            Counsel’s written objections to the Pre-Sentence
 3          Report shall be delivered to the Probation Officer and
            opposing counsel no later than:                                       October 18, 2011
 4
            The Pre-Sentence Report shall be filed with the Court
 5          and disclosed to counsel no later than                                October 25, 2011
 6          Motion for correction of the Pre-Sentence Report
            shall be filed with the Court and served on the Probation
 7          Officer and opposing counsel no later than:                   November 1, 2011
 8          Reply or statement of non-opposition                          November 8, 2011
 9          Judgment and sentencing date:                                         November 15, 2011
10
11
                                           Respectfully submitted,
12                                         BENJAMIN B. WAGNER
                                           UNITED STATES ATTORNEY
13
                                           /s/ RICHARD J. BENDER by e mail authorization
14   DATED: 9-23-11                        _____________________________________
                                           Richard J. Bender
15                                         ASSISTANT UNITED STATE ATTORNEY
                                           ATTORNEY FOR THE PLAINTIFF
16
17   DATED: 9-23-11                        /s/ James R. Greiner
                                           _______________________________________
18                                         James R. Greiner
                                           Attorney for Defendant
19                                         Rene Wright
20
                                                    ORDER
21
22          For the reasons stated in the parties’ stipulation, the Court hereby orders that the date for
23   sentencing is continued from September 27, 2011 to November 15, 2011 at 9:15 a.m., and the
24   schedule for the disclosure of the Pre-Sentence Report is amended as set forth in the stipulation.
25   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
26
     DATED: September 26, 2011
27
28

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